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                  United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 24-7063                                                September Term, 2024
                                                                       1:21-cv-00920-APM
                                                  Filed On: March 31, 2025 [2108578]
Michaela Smith,

              Appellant

      v.

Howard University,

              Appellee

                                        ORDER

        It is ORDERED, on the court's own motion, that the following times are allotted
for the oral argument of this case scheduled for April 10, 2025, at 9:30 A.M.:

             Appellant                    -              10 Minutes (to be divided with
                                                         appellant Michaela Smith as the
                                                         parties deem appropriate)

             Appellee                     -              10 Minutes

        The panel considering this case will consist of Chief Judge Srinivasan, and
Circuit Judges Henderson and Childs.

      Form 72, which may be accessed through the link on this order, must be
completed and returned to the Clerk's Office by April 2, 2025.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

      Notification to the Court from Attorney Intending to Present Argument (Form 72)
